         Case 1:22-mj-00203-GMH Document 56 Filed 04/14/23 Page 1 of 1

       The Law Office of Kevin J. Keating, P.C.
       666 Old Country Road, Suite 900
       Garden City, NY 11530
       516-222-1099 • 212-964-2702
       kevin@kevinkeatinglaw.com
       Garden City • Manhattan


                                              April 14, 2023
Via ECF
Hon. G. Michael Harvey
United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

               Re:     United States v. Lizak
                       Docket No. 22-mj-203-5

Dear Judge Harvey:

       As Your Honor is aware I represent Jon Lizak in the captioned matter. Lizak is 23 years old
and without any criminal history. He was originally arraigned in this matter on September 22, 2022,
on a misdemeanor charge and released on an unsecured bond with customary travel restrictions.

        I write to respectfully request a modification of Lizak’s conditions of release. Since the
inception of this matter, one of Lizak’s conditions of release was that he not communicate with any of
the co-defendants, in the absence of counsel. One of Lizak’s co-defendants is Thomas Carey, who
has been a hometown, lifelong friend of Lizak’s with whom Lizak shares an extremely close
relationship, as well as with Mr. Carey’s other family members. Mr. Carey has already entered a
guilty plea in this matter and our fruitful negotiations with the Government remain ongoing.

        With this, I write to respectfully request that Mr. Lizak’s conditions of release be modified so
as to enable him to communicate with Mr. Carey.

       I have conferred with AUSA Joseph Huynh, who offers his consent to this application.

       Thank you for your consideration.

                                              Very truly yours,

                                              /s/ Kevin J. Keating

                                              KEVIN J. KEATING
KJK/dg
cc:   AUSA Joseph Huynh
